885 F.2d 865Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clarence Hence GREEN, Petitioner-Appellant,v.WARDEN, MARYLAND CORRECTIONAL INSTITUTION, Respondent-Appellee.
    No. 89-7555.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 28, 1989.Decided Aug. 31, 1989.
    
      Clarence Hence Green, appellant pro se.
      Norman L. Smith, Office of the Attorney General of Maryland, for appellee.
      Before PHILLIPS, MURNAGHAN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Clarence Hence Green seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Green v. Warden, C/A No. 87-1521-B (D.Md. Feb. 22, 1989).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    